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                IN THE UNITED STATES DISTRICT COURTS
               FOR THE EASTERN DISTRICT OF KENTUCKY
                         LEXINGTON DIVISION


SHERRILL RAY ROGERS,

               Plaintiff,

v.                                          Case No. _____________________

INFILTRATOR WATER
TECHNOLOGIES, LLC WELFARE
PLAN; INFILTRATOR WATER
TECHNOLOGIES, LLC; AETNA
LIFE INSURANCE COMPANY; and
THE HARTFORD FINANCIAL
SERVICES GROUP, INC. D/B/A
THE HARTFORD,

               Defendants.


                             NOTICE OF REMOVAL


        Pursuant to 28 U.S.C. § 1446, Defendants Aetna Life Insurance Company

(“Aetna”), Hartford Financial Services Group, Inc. (“HFSG”), Infiltrator Water

Technologies, LLC (“Infiltrator”), and the Infiltrator Water Technologies, LLC

Welfare Plan (the “Plan”) (collectively, “Defendants”) hereby file this Notice of

Removal of this case from the Circuit Court of Powell County, Kentucky, Case

No. 22-CI-00004, where it is currently pending, to the United States District Court

for the Eastern District of Kentucky. As discussed below, removal of this action is
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proper pursuant to this Court’s federal question subject-matter jurisdiction under

28 U.S.C. § 1331 and § 1441, because Plaintiff’s claim against Defendants invokes

the Court’s federal-question jurisdiction under the Employee Retirement Income

Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq. Defendants respectfully

show the Court as follows:

      1.     Plaintiff Sherrill Ray Rogers instituted a civil action against

Defendants in the Circuit Court of Powell County, Kentucky, on January 17, 2022.

A true and correct copy of the Complaints and Summonses, which are the only

documents received by Defendants in the Circuit Court action, are attached hereto

as Exhibits A, B, and C.

      2.     This Notice of Removal is filed, pursuant to Rule 6(a) of the Federal

Rules of Civil Procedure and 28 U.S.C. § 1446(b), within thirty (30) days after the

filing of the Complaint and, therefore, within thirty (30) days after receipt by

Defendants of the initial pleading on which the aforesaid action is based.

      3.     This action could have been originally filed in this Court pursuant to

28 U.S.C. § 1331, in that Plaintiff’s claim invokes this Court’s federal-question

jurisdiction under ERISA.

      4.     The United States District Court for the Eastern District of Kentucky

is the federal judicial district embracing the Circuit Court of Powell County,

Kentucky, where this suit was originally filed. Venue is therefore proper under


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28 U.S.C. §§ 97(a) and 1441(a).

                    FEDERAL QUESTION JURISDICTION

      5.     Under 28 U.S.C. § 1331, this Court has “original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United States.”

Further, the ERISA jurisdiction provision provides for concurrent jurisdiction to

the state and federal courts over participant’s claims under 29 U.S.C.

§ 1132(a)(1)(B) and exclusive jurisdiction to the federal courts over all other

ERISA claims by participants. See 29 U.S.C. § 1132(e)(1). When filed in state

court, such actions may be removed to federal court. See 28 U.S.C. § 1441(a).

      6.     In his Complaint, Plaintiff alleges that he is covered under an ERISA-

governed disability-insurance plan offered by his employer, Infiltrator, and insured

by Aetna. (See Compl. at ¶ 6). Based upon an alleged denial of his claim for

benefits, Plaintiff asserts a single count for violations of ERISA. (See Compl. at

¶¶ 10, 24-31). Plaintiff seeks “judgment against Defendants . . . for benefits under

the plan” and attorney’s fees and costs. (Compl. at “Wherefore” paragraph).

      7.     Because Plaintiff asserts a single federal cause of action under

ERISA, (see Compl. at ¶¶ 24-31), and even alleges the state court’s jurisdiction

under 29 U.S.C. § 1132(e) as concurrent with this Court’s, (see Compl. at ¶ 11),

this Court has original jurisdiction of this civil action pursuant to 28 U.S.C. § 1331

and 29 U.S.C. § 1132(e) and (f). Accordingly, this cause of action, which could


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have originally been filed in this Court, is subject to removal under 28 U.S.C.

§ 1441(a) as an action arising under federal law.

                                  MISCELLANEOUS

       8.       A copy of this Notice of Removal is being filed with the Circuit Court

of Powell County, Kentucky, as provided by law, and written notice is being sent

to Plaintiff’s Counsel.

       9.       Along with this Notice of Removal, Defendants will tender to the

Clerk of this Court the funds necessary to secure removal.

       10.      This Notice of Removal is filed within thirty (30) days after receipt by

Defendants of the initial pleading on which the aforesaid action is based pursuant

to Rule 6(a) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1446(b).

       11.      The prerequisites for removal under 28 U.S.C. § 1441 have been met.

       12.      The allegations of this Notice are true and correct and within the

jurisdiction of the United States District Court for the Eastern District of Kentucky.

       13.      If any question arises as to the propriety of this removal, Defendants

respectfully request the opportunity to present a brief and argument in support of

its position.

       WHEREFORE, PREMISES CONSIDERED, Defendants Aetna Life

Insurance Company, Hartford Financial Services Group, Inc., Infiltrator Water

Technologies, LLC, and the Infiltrator Water Technologies, LLC Welfare Plan, by


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and through their undersigned counsel, pray that the above action currently

pending against it in the Circuit Court of Powell County, Kentucky, be removed to

this Court.

      Respectfully submitted this 9th day of February 2022.


                                     /s/ William B. Wahlheim, Jr.
                                     William B. Wahlheim, Jr.
                                     MAYNARD, COOPER & GALE, P.C.
                                     1901 Sixth Avenue North
                                     Suite 1700
                                     Birmingham, Alabama 35203
                                     (205) 254-1000
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                                     Attorney for Defendants
                                     [application for admission pro hac vice to be
                                     filed]




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                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Notice of Removal has been
served upon the following counsel of record to this proceeding by placing a copy
of same in the United States Mail, properly addressed and first-class postage
prepaid this 9th day of February 2022:

            L. Dustin Riddle
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            Attorney for Plaintiff


                                    /s/ William B. Wahlheim, Jr.
                                    OF COUNSEL




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